                                                                              TB
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                                                                                 May 30, 2017
                          U N ITE D STA TES D ISTRIC T C O U RT
                          SO UTH ER N D ISTR ICT O F FL O R ID A
           17-20357-CR-GAYLES/OTAZO-REYES
                         C A SE NO .
                                      18U.S.C.j371
                                       8U.S.C.j1325(c)
                                       8U.S.C.j1324(a)(1)(A)(iv),(v)(ll),and (B)(i)
                                      18U.S.C.j1425(a)
                                      18U.S.C.j982(a)(6)
  U N ITED STA TES O F A M ER ICA ,




   LAR ISA D E LIM A ,
   ALM IR D E LIM A ,
   M ILEN A D IA Z,
  V IVIA N G O N ZA LEZ ,
  DA Y M AR IS G O NZA LEZ,
  NIC O LA E LISE NC O ,
  DA Y M IG O N ZA LEZ,
  DM G O S G R O ZA ,
  LISSETTE PERA ZA R O D RIG U EZ ,
  GA FU R BO BO JO N I,
  M A YK EL FA N DIN O M O R ENO ,
  LEDE SM Y SU A REZ,
  VITALY M ESH C H ER IA K O V ,
  SA NJA R SAD IK O V ,
  D M ITRY PO LY UD O V ,
  A LEN M SM UK H A BETO V,
  R AK H IM DZ H O M R AK H M O N ,
  LYU BO V PR O NIN A,
  G ULBAH O R Y A K U B OV A ,
  JO NBEK ZUV A Y DO V ,and
  A NA TO LI RO M AN O V IC I,

       D efendants.
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                                            IN DIC TM EN T

          The G rand Jury chargesthat:

                                             COUNT 1
                               C onspiracy To C om m itM arriage Fraud
                                           (18U.S.C.j371)
          Beginning in oraround M ay 20l3, the exactdate being unknow n to the Grand Jury and
                                                                                         ,

   continuing through in oraround Septem ber2015, the exactdate being unknow n to the G rand Jul'y
                                                                                                     ,

   in M iam i-D ade, Brow ard, and Palm Beach Counties, in the Southern D istrict of Florida and
                                                                                            ,

  elsew here,the defendants,

                                        LA R ISA DE L IM A ,
                                        A LM IR D E LIM A ,
                                          M ILEN A D IAZ,
                                      VIV IA N G O N ZA LE Z,
                                    DA YM A RIS G O N ZA LEZ,
                                      D A YM IG O NZA LEZ,
                                LISSETTE PER AZA R O D R IG UE Z ,
                               M AY K E L FAN D INO M O R EN O ,and
                                       LED ESM Y SU AR EZ,

  did knowingly and willfully com bine, conspire,confederate,and agree w ith each other and w ith

  other persons known and unknow n to the Grand Jury to com m itan offense againstthe United

  States,thatis,to know ingly and unlaw fully enter into a m aniage forthe purpose ofevading any

  provision ofthe im m igration law s ofthe United States, in violation ofTitle 8, U nited StatesCode,

  Section 1325(c).
                               PU R PO SE O F TH E C O N SPIM CY

                ltw asthe pum ose ofthe conspiracy forthe defendantsand theirco conspiratorsto
                                                                                    -




  arrange for U nited States citizens and Law ful Pennanent Residents to enter into false and
Case 1:17-cr-20357-DPG Document 7 Entered on FLSD Docket 05/31/2017 Page 3 of 34



   fraudulentm arliages w ith aliens for the purpose of evading the im m igration law s ofthe United

   States.

                        M A N NE R A N D M EAN S O F TH E C O N SPIM C Y

          Them annerand meansby which thedefendantsand co-conspiratorssoughtto accomplish

   thepurpose ofthe conspiracy included, am ong otherthings,the follow ing:

                  The organizer, LA RISA D E L IM A , arranged false and fraudulent m arriages

  betw een aliens and either U nited States citizens or Law ful Perm anent Residents to falsely and

   fraudulently qualify the aliens forim m igration benefitsincluding legalstatusin the United States.

                 The recruiters,including VIV IA N G O N ZALEZ , recruited United States citizens

  and Law fulPerm anentResidentsto enterinto the false and fraudulentm aniages w ith aliens.

                 L AR ISA DE LIM A ,the recruiters, including V IV IA N G O N ZA LEZ , the United

  States citizens, and the Law ful Pennanent Residents dem anded paym ent from the aliens for

  arranging the false and fraudulentm arriages.

                 The United Statescitizensand LawfulPerm anentResidentsentered into the false

  and fraudulentm arriagesw ith the aliens.

         6.      A LM IR D E LIM A and M ILENA D IA Z notarized the m arriage licensesbetw een

  the aliens and the United States citizens and Law ful Perm anent Residents w ithout conducting

  m aniage cerem onies.

                 LA R ISA D E LIM A prepared the false and fraudulent m arriage licenses and

  assisted the co-conspirators in the false and fraudulent m arriages by com pleting false and

  fraudulentim m igration papenvork, m em orializing the m aniages,and seeking legalstatus forthe

  aliens in the United States.
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                  LA RISA DE LIM A and A LM IR D E LIM A prepared the co conspirators in the
                                                                                -




   false and fraudulentm arriagesfortheirinterview sw ith United StatesCitizenship and Im m igration

   Services.

                                             O VER T A C TS

          ln furtherance of the conspiracy, and to accomplish the purposeand objectthereof,the

   defendants and their co-conspirators com m itted and caused to be com m itted in the Southenz
                                                                                ,

  D istlictofFlorida,and elsewhere, atleastone ofthe following overtacts, am ong others:

                  On orabotltM ay 3,2013,LA R ISA D E L IM A and ALM IR D E LIM A introduced

  LED ESM Y SU A REZ , a LawfulPerm anentResident, to V italy M eshcheriakov an alien,forthe
                                                                            ,


  purpose ofentering into a false and fraudulentm arriage.

                 On or about M ay 3, 2013, LED E SM Y SUA R EZ and V italy M eshcheriakov

  entered into a false and fraudulent m arriage to obtain legal status for M eshcheriakov w ithout

  com plying w ith the im m igration law s ofthe U nited States.

                 On oraboutM ay 3,2013, A LM IR D E LIM A falsely and fraudulently notarized a

  Certificate ofM afriage betw een LEDE SM Y SU A REZ and Vitaly M eshcheriakov.

                 O n oraboutM ay 3,2013, LED ESM Y SUA REZ accepted pam entin the am ount

  of$5,000.00 from LARISA DE LIM A forentering into the false and fraudulentm arriage with

  V italy M eshcheriakov.

                 In or around M arch              LA R ISA DE L IM A introduced D A Y M A RIS
  G O NZA LEZ,a Law ful Perm anent Resident, to N icolae Lisenco,an alien, for the pum ose of

  entering into a false and fraudulentm aniage.
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                  On or about M arch 26, 2015,DA YM A RIS G O N ZA LEZ and N icolae Lisenco

   entered into a false and fraudulentm arriage to obtain legalstatus for Lisenco w ithoutcom plying

   with the im m igration law s ofthe U nited States.

                  On oraboutM arch 26,2015, M ILENA D IA Z falsely and fraudulently notarizcd a

   Certiticate ofM arriage betw een D A YM AR IS G O N ZAL EZ and N icolae Lisenco.

          8.      O n or about June 21, 2015, LA R ISA D E L IM A introduced DA Y M I

  G O NZA LEZ, a Lawful Perm anent Resident, to D ragos Groza, an alien, for the purpose of

  entering into a false and fraudulentm arriage.

                  O n oraboutJune 21,2015,DA Y M I G O N ZA LEZ and D ragos Groza entered into

  a false and fraudulent m arliage to obtain legal status for G roza w ithout com plying w ith the

  im m igration law s ofthe United States.

                  On orabout June 2 1,2015,M ILENA DIA Z falsely and fraudulently notalized a

  Certificate ofM arriage betw een DA Y M I G O N ZA LEZ and Dragos Groza.

                 ln oraround July 2015,V IVIAN G O NZA LEZ introduced LISSETTE PEM ZA

  R O D RIG U EZ , a Law ful Pennanent Resident, to LA R ISA D E LIM A for the purpose of

  arranging a false and fraudulentm arriage betw een PER AZ A R O D R IG U EZ and an alien.

                 ln or around July 2015,LAR ISA D E LIM A introduced LISSET TE PER AZA

  RO D R IG U EZ,a Law ful Pennanent Resident, to GafurBobojoni,an alien,forthepurposeof

  entering into a false and fraudulentm arliage.

                 On or about July 27, 2015, LISSETTE PER AZA RO DR IG U EZ and G afur

  Bobojonienteredinto afalseandfraudulentmaniageto obtainlegalstatusforBobojoniwithout
  complying w ith the im m igration law softhe U nited States.
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                   On or about July 27, 2015, LISSETTE PE R AZA R O D R IG UE Z accepted

   payment in the am ountof $5,000.00 from LARISA DE LIM A and ALM IR DE LIM A for

   enteringintothefalseandfraudulentmaniagewith GafurBobojoni.
                      or around A ugust 2015, VIV IA N G O NZA LEZ introduced M A Y K EL

   FA ND INO M O R ENO ,a Law fulPerm anentR esident, to LAR ISA D E LIM A forthe purpose of

   arranging a false and fraudulentm aniage betw een FA ND IN O and an alien.

                  In oraround August2015,LA RISA DE LIM A introduced M AY K E L FAN DIN O

  M O REN O ,a Law fulPerm anentResident, to ççA lien 1,''an alien,forthe purpose ofentering into

  a false and fraudulentm aniage.

                  On or about August27,2015, M A Y K EL FA N D IN O M O R ENO and itA lien 1''

  entered into a false and fraudulentm arriage to obtain legalstatus for kçAlien l''w ithoutcom plying

  w ith the im m igration law s ofthe U nited States.

                  On or about August 27, 2015, M A YK EL FA N DIN O M O REN O accepted

  paym entin the am ountof $5,000.00 from LARISA DE LIM A for entering into the false and

  fraudulentm arriage w ith ttA lien 1.''

         A llin violation ofTitle 18,U nited States Code, Section 371.

                                              CO UN TS 2-14
                                             M arriage Fraud
                                            (8U.S.C.j 1325(c))
         On oraboutthedates specified asto each countbelow , in M iam i-D ade,Brow ard, and Palm

  Beach Counties,in the Southern D istrictofFlorida, and elsew here,the defendants specified as to

  each countbelow ,did know ingly and unlaw fully enterinto a m arliage for the purpose ofevading

  any provision ofthe im m igration law softhe United States:
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                M ay 3,2013                 LEDE SM Y SUA R EZ and
                                          VITA LY M ESH C H ER IAK O V


                 July 4,2014                   LY U BO V PR O N IN A


              Septem ber7,2014                 SAN JA R SA D IK O V


             Septem ber l2,2014             G ULBA H O R Y A K U B O VA


             D ecem ber22,2014                JO N BEK ZU VA Y D O V


               M arch 26,2015             DA Y M A R IS G O N ZA LEZ and
                                              NIC O LA E LISE NC O


      8         M ay 16,2015                A NA TO LI R O M A N O V IC I


                June 11,2015             R AK H IM D ZH O N I M K H M O N


      10       June 2l,2015                 DA Y M IG O N ZA LEZ and
                                               D R AG O S G R O ZA


                July 27,2015          LISSET TE PEIG ZA R O D RIG UEZ and
                                              G A FUR BO B O JO NI


      12      A ugust l5,2015              AL EN R ASM U K H A BETO V


      13      A ugust27,2015             M AY K E L FAN D IN O M O R EN O


      14     Septem ber25,2015               D M ITRY PO LY UD O V
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          ln violation ofTitle 8, United StatesCode,Section l325(c),and Title 18,United States

   Code,Section 2.

                                        CO U N TS 15-27
                Unlaw fully Encouraging An A lien T o Reside In T he U nited States
                         (8U.S.C.j1324(a)(1)(A)(iv),(v)(lI),and(B)(i))
          O n oraboutthe datesspecified asto each countbelow , in M iam i-D ade,Brow ard, and Palm

  Beach Counties,in the Southern D istrictofFlorida, and elsewhere,the defendants specified asto

  each countbelow ,did know ingly encourage and induce an alien to reside in the United States, for

  the purpose of private financial gain, know ing and in reckless disregard of the fact that such

  residenceisand willt;e in violation oflaw :

   C ount A pproxim ate D ate                Defendants                          Alien


                                         LA R ISA D E LIM A ,
                M ay 3, 2013           A LM IR D E LIM A ,and                 V ITA LY
                                        LED ESM Y SUA R EZ               M ESH CHERIA KO V


                 J                     LA R ISA DE LIM A and
                  uly 4,2014             A LM IR DE LIM A                LYU BO V PRON IN A


             Septem ber7,2014          LARMISA D E LIM A and             SAN JA R SA D IK OV
                                            ILEN A D IA Z


             Septem ber 12,2014       LAARLM
                                           ISA D E LIM A and         G U LBA H OR Y A K UBO V A
                                             IR DE LIM A


     19      D ecem ber22,2014        LA RISA D E L IM A and           JO N BEK ZU VA Y D OV
                                        AL M IR D E LIM A
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                                          LA R ISA D E t,IM A ,
      20         M arch 26,2015           M ILEN A DIA Z,and               N ICO LA E LISEN CO
                                       D A YM AR IS G O N ZA LEZ


                                          LAR ISA D E LIM A ,
      21          M ay 16,2015           ALM IR D E LIM A,and           AN A TOLIROM A N OV ICI
                                         VIV IA N G O N ZA LEZ


      22          June ll,2015           LAR ISA D E LIM A and              RA KH IM DZHO N I
                                           M ILENA D lA Z                     RA K HM ON


                                          LA R ISA D E LIM A ,
      23          June 21,2015            M ILEN A DlA z,and                D RA G O S G ROZA
                                         DA Y M I G O N ZA LEZ


                                          LA R ISA D E LIM A ,
                  July 27,2015        V IV IA N G O N ZALE Z,and
                                         LISSETTE PER AZA                  G AFU R BO BO JO N I
                                             RO D R IG UEZ


                August15,20l5           LA RISA D E LIM A and                   A LEN
                                           M ILENA D IAZ                  R ASM UK HA BETO V


                                          LA RISA D E LIM A ,
                                      V IV IA N G O NZA LEZ, and           IRIN A FA N DIN O ,
                A ugust27,2015                                                a/k/a CCIRIN A
                                         M A Y K EL FAN D IN O
                                               M O R EN O                 O G ORO DN IK OV A ''


              Septem ber25,2015         LA RISA D E LIM A and
                                           M ILENA D IAZ                 DM ITRY PO LY U DO V



           ln violation ofTitle 8,U nited States Code, Sections1324(a)(1)(A)(iv),(v)(ll),and (B)(i),

  and Title l8,U nited States Code,Section 2.
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                                            CO UN T 28
                                      Unlaw fulN aturalization
                                        (18U.S.C.j1425(a))
          On oraboutOctober 18,2013, in M iam i-Dade County,in the Southern DistrictofFlorida,

   the defendant,

                                       LE DESM Y SU AR EZ,

   did know ingly procure and attem ptto procure, contrary to law ,naturalization,and docum entary

   and otherevidence ofnaturalization and ofcitizenship, forherself,in violation ofTitle l8, United

   StatesCode,Section 1425(a).
                                           CO UN T 29
                                     U nlawfulN aturalization
                                       (18U.S.C.j1425(a))
          O n or about April21,2015,in M iam i-D ade County, in the Southern D istrictof Florida,

  the defendant,

                                      VIV IAN G O N ZA LEZ,

  did know ingly procure and attem ptto procure, contrary to law ,naturalization,and docum entary

  and otherevidence ofnaturalization and ofcitizenship, forherself,in violation ofTitle 18, U nited

  StatesCode,Sedion 1425(a).

                                FO RFE ITUR E A LL EG A TIO NS

                 The allegations in this lndictm ent al'e re-alleged and by this reference fully

  incorporated herein forthe purpose ofalleging crim inalforfeiture to the United States ofA m erica

  of certain property in w hich one or m ore of the defendants, L Am SA D E LIM A ,AL M IR D E

  LIM A, M ILEN A D IAZ, V IV IAN G O N ZA LEZ, D A Y M A RIS G O NZA LEZ , D A YM I



                                                 10
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   G O N ZAL EZ,LISSETTE PEM ZA RO DR IG UEZ,M A Y K EL FA N D INO M O REN O ,and

   LEDE SM Y SUA R EZ,have an interest.

          2.      U pon conviction ofa violation ofTitle 8, UnitedStatesCode,Sedion l324(a)(1)

  orTitle 18,United StatesCode,Section 1425(a),asalleged in Counts 15 through 29 ofthis
   Indictm ent,the defendantsshalleach forfeitto the U nited StatesofA m erica the following:

               a) any conveyance,includinganyvessel,vehicle,oraircraftused in thecommission
                  ofsuch violation'
                                  ,and/or

               b) anyproperty,realorpersonal,
                          thatconstitutes,or is derived from or is traceable to the proceeds obtained

                          directly orindirectly from the com m ission ofsuch violation;and/or

                       ii. that w as used to facilitate, or was intended to be used to facilitate, the

                          com m ission ofsuch violation.

                  Thepropertysubjectto forfeitureincludes,butisnotlimited to,atleast$325,000
  in U .S. currency, w hich is a sum equal to the total am ount of proceeds obtained from the

  com m ission of Counts 15 through 27 ofthe lndid m entand which the United States m ay seek as

  aforfeituremoneyjudgment.
                  lf any of the property described above,as a result of any act or om ission of the

  defendants:

                          cannotbe located upon the exercise ofdue diligence'
                                                                            ,

                  b.      hasbeen transferred orsold to,ordeposited w ith,a third party;

                          hasbeenplacedbeyondthejurisdictionofthecourt;
                          hasbeen substantially dim inished in value;or

                                                   11
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                        hasbeen com m ingled w ith otherproperty w hich cannotbe divided

                        w ithoutdiftk ulty,

  the United States ofA m erica shallbe entitled to forfeiture ofsubstitute property pursuantto Title

  21,UnitedStatesCode,Section 8531),asincorporated byTitle 18,UnitedStatesCode,Sedion
  982(b)(1)andTitle28,United StatesCode,Section 246l(c). Suchproperty includes,butisnot
  lim ited to,realproperty located at4275 Plice Road, Clew iston,Florida 33440.

         AllpursuanttoTitle8,United StatesCode,Section 1324(b),Title18,UnitedStatesCode,
  Section 982(a)(6),andtheproceduressetforth atTitle 21,United StatesCode,Section 853,as
  made applicableby Title 18 United StatesCode,Section 982(b)(1)and Title28,United States
  Code,Section2461(c).
                                                          A TRUE BILL



                                                          F       ER SON
    $                    w    -   t.
  BEN JA M W G .GREEN BERG
  A CTW G U NITED STA TES ATTORN EY




  BRIA N J.SHA CK
  A SSISTA NT U N ITED STATES ATTO RN EY
Case 1:17-cr-20357-DPG Document 7 Entered on FLSD Docket 05/31/2017 Page 13 of 34
                                       UN ITED STATES DISTR IC T CO URT
                                       SOUTH ERN DISTR IC T O F FLO RIDA

UNITED STATES OF AM ERICA                        CASE NO.


LARISA D E LIM A ,etal.,
       Defendants.
                                                 Superseding Case Inform ation:

CourtDivision:(selectone)                       New Defendantts)                 Yes         No
                                                N umberofN ew Defendants
X      M iam i            Key W est             Totalnumberofcounts
       FTL                W PB          FTP
       ldo hereby certify that:
                 Ihavecarefullyconsideredtheallegationsofthe indictm ent,thenum berofdefendants, thenumberof
                 probablew itnessesand the legalcomplexitiesofthe Indictm ent/lnfonnation attached hereto.
                 Iam aFare thatthe inform ation supplied olqthisjtatemeqtwillbe relied upon by theJudgesofthis
                 Courtln setting theircalendarsand schedullng crlm inaltnalsunderthem andate ofthe Speedy Trial
                 Act,Title 28U .S.C.Section 3161.
                 lnterpreter:     (YesqrNo)      Y es
                 Llstlanguageand/ordlalect         panish
       4.        Thiscase willtake       13-15 daysforthe partiesto try.
       5.        Please check appropriate category and type ofoffense listed below :
                 (Checkonlyone)                                 (Checkonlyone)
       1         0 to 5 days                                    Petty
       11        6 to 10 days                                   M inor
       11I       l1to 20 days                      X            M is
                                                                Fel dem .
                                                                   ony
       W         2lto 60 days                                                           X
       V         61daysand over
       6:        Hasthiscasebeenpreviously filedinthisDistrictCourt? (YesorNo)         No
       lfyes:
       Judge:                                           CaseNo.
       (Attachcopypfdispositiveordel)
       Hasacomplalntbeen filedin thlsmatter?      (YesorNo) Yes
       lfyes:
       M agistrateCaseNo.                   17-mj-2725-TtJRNOFF
       Related M iscellaneousnum bers:
       Defendantts)infederalcustodyasof
       Defendantts)instatecpstodyasof
       Rule20 from theDistrlctof
       lsthisapotentialdeathpenalty case?(YesorNo)         No

                 D pesthiscaseoriginate from a m atterpending in theNorthern Region ofthe U .S.Attorney'sOffice
                 prlorto Octoberl4,20032        Y es            No x

       8.        Dpesthiscase originate from a matterpending in the CentralRegion ofthe U .S.Attom ey'sOffice
                 prlorto Septem ber 1,2007?     Y es              No x


                                                        BIUAN J.SHACK
                                                        ASSISTANT UN ITED STATES ATTORN EY
                                                        FLORID A SPECIAI,BAR N O.A5502166
 *penalty Sheetts)attached
Case 1:17-cr-20357-DPG Document 7 Entered on FLSD Docket 05/31/2017 Page 14 of 34



                            UN ITED STA TE S D ISTR ICT C O U R T
                            SO U TH E RN DISTR ICT O F FLO RIDA

                                       PENA LTY SH EET

   Defendant'sN am e: LA R ISA DE LIM A

   C ase N o:

   Count#:l

   Conspiracy to Com m itOffensesagainstthe U nited States

   Title 21,U nited StatesCode,Section 371

   *M ax.Penalty:5 Y ears'lm plisonm ent

   Counts#:15-27

   Upl/Fflr
          llly-
              tll/çgpr/gingapAliçptc?RçjideintheUnited States
   Title8,UnitedStatesCode,Section 1324(a)(l)(A)(iv),(v)(ii),and (B)(i)
   *M ax.Penalty:10 Y ears'lm prisonm ent




    *R efers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
             specialassessm ents,parole term s,or forfeitures that m ay be applicable.
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                             U N ITE D STA TES DISTRIC T C O U R T
                             SO UTH ERN D ISTR ICT O F FL O R ID A

                                        PEN ALTY SH EET

  D efendant'sN am e: A LM IR D E LIM A

  C ase N o:                                                          -




  Count#:1

  Conspiracy to Com m itOffenses againstthe U nited States

  Title 21,United StatesCode,Section 371

  *M ax.Penalty:5 Y ears'Im prisonm ent

  C ounts#:l5,16,18,19,and 21

  U nlaw fully Encouraging an A lien to Reside in the United States

  Title8,UnitedStatesCode,Section l324(a)(l)(A)(iv),(v)(ii),and(B)(i)
  *M ax.Penalty: 10 Years'Im prisonm ent




   *R efersonly to possible term ofincarceration,does notinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
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                            U NITED STATE S D ISTR ICT CO UR T
                            SO U TH ERN D ISTR ICT O F FL O RID A

                                       PENA LTY SH EET

  D efendant'sN am e: M ILEN A DIA Z

  C ase N o:

  Count#:1

  Conspiracy to Com m itO ffensesagainstthe U nited States

  Title 21,U nited States Code,Section 371

  *M ax.Penalty:5 Y ears'lm prisonm ent

  Counts#:17,20,22,23,25,and 27

  Unlaw fully Encouraging an A lien to Reside in the United States

  Title8,UnitedStatesCode,Section 1324(a)(1)(A)(iv),(v)(ii),and (B)(i)
  *M > .Penalty:10 Y ears'lm prisgnm çnt




   eR efersonly to possible term ofincarceration,does notinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
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                             U NITED STA TE S D ISTR ICT C O UR T
                             SO U TH ER N D ISTR ICT O F FL O R ID A

                                        PEN A LTY SH EET

  D efendant'sN am e: V IV IA N G O N ZAL EZ

  Case N o:

  Count#:1

  Conspiracy to Com m itOffenses againstthe U nited States

  Title 21,United States Code,Sed ion 371

  *M ax.Penalty:5 Y ears'lm prisonm ent

  Counts#:2l,24,and 26

  U nlaw fully Encouraging an A lien to Reside in the United States

  Title8,UnitedStatesCode,Sedion 1324(a)(1)(A)(iv),(v)(ii),and(B)(i)
  *M ax.Penalty: 10 Years'lm pdsonm ent

  Count#:29

  Unlaw fulProcurem entofCitizenship orN aturalization

  Title l8,UnitedStatesCode,Section 1425(a)
  *M ax.Penalty: 10 Y ears'lm prisonm ent




   *ltefersonly to possible term ofincarceration,does notinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
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                            U NITED STATE S D ISTR IC T CO UR T
                            SO UTH ER N D ISTR IC T O F FL O R ID A

                                       PEN AL TY SH EE T

  D efendant'sN am e: D A YM A RIS G O N ZA LEZ

  C ase N o:

  Count#:l

  Conspiracy to Com m itO ffenses againstthe U nited States

  Title 21,U nited States Code,Section 371

  *M ax.Penalty:5 Y ears'lm prisonm ent

  Count#:7

  M arriage Fraud

  Title8,UnitedStatesCode,Section l325(c)
  *M ax.Penalty:5 Y ears'lm prisonm ent

  Counts#:20

  Unlaw fully Encouraging an Alien to Reside in the United States

  Title8,UnitedStatesCode,Section l324(a)(1)(A)(iv),(v)(ii),and(B)(i)
  *M ax.Penalty: 10 Y ears'lm prisonm ent




   AR efers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeitures that m ay be applicable.
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                           U N ITE D STA TES DISTRIC T C O U R T
                           SO U TH ER N D ISTRIC T O F FLO R IDA

                                      PEN AL TY SH EET

  D efendant's N am e: N IC O LA E LISENC O

   Case N o:

   Count#:7

  M aniage Fraud

  Title8,United StatesCode,Section 1325(c)
   *M ax.Penalty:5 Y ears'lm prisonm ent




    eRefers only to possible term ofincarceration,does notinclude possible fines,restitution,
            specialassessm ents,paroleterm s,or forfeitures thatm ay be applicable.
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                            UN ITED STA TE S D ISTR IC T C O U R T
                            SO U TH ERN D ISTR ICT O F FLO RID A

                                       PENA LTY SH EET

  Defendant'sN am e: D AY M I G O N ZALEZ

  C ase N o:

  Count#.
        .1

  Conspiracy to Com m itOffensesagainstthe U nited States

  Title 21,United Statej Cgde,Sed ion 371

  *M ax.Penalty:5 Y ears'lm prisonm ent

  Count#:l0

  M arriage Fraud

  Title8,UnitedStatesCode,Section 1325(c)
  *M ax.Penalty:5 Y ears'lm prisonm ent

  Counts#:23

  Unlawfully Encouraging an A lien to Reside in the U nited States

  Title8,UnitedStatesCode,Section 1324(a)(l)(A)(iv),(v)(ii),and(B)(i)
  *M ax.Penalty:10 Y ears'Im prisonm ent




   SrR efersonly to possible term ofincarceration,doesnotinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
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                          UN ITED STA TE S D ISTR IC T CO UR T
                          SO U TH ERN D IST RIC T O F FL O R ID A

                                     PENA LTY SH EE T

  Defendant'sN am e: DM G O S G R O ZA

  C ase N o:

  Count#:l0

  M arliage Fraud

  Title8,UnitedStatesCode,Section l325(c)
  *M ax.Penalty:5 Y ears'Im prisonm ent




   *Refers only to possible term ofincarceration,does notinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
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                             UN ITED STA TE S D ISTR ICT C O U R T
                             SO U TH ER N D ISTR ICT O F FLO RID A

                                        PENA LTY SH EET

  Defendant'sN am e: LISSE TTE PERA ZA R O D R IG U E Z

  C ase N o:

  Count#:1

  Conspiracy to Com m itO ffenses againstthe United States

  Title 2 1,U nited States Code,Section 371

  *M ax.Penalty:5 Years'lm prisonm ent

  Count#:1l

  M aniage Fraud

  Title8,UnitedStatesCode,Section 1325(c)
  *M ax.Penalty:5 Years'Im prisonm ent

  Counts#:24

  U nlaw fully Encouraging an A lien to Reside in the U nited States

  Title8,United StatesCode,Section l324(a)(1)(A)(iv),(v)(ii),and(B)(i)
  *M ax.Penalty:10 Y ears'lm prisonm ent




    WR efersonly to possible term ofincarceration,doesnotinclude possible fines,restitution,
             specialassessm ents,parole term s,or forfeitures that m ay be applicable.
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                          U NITED STATE S D ISTR IC T CO U R T
                          SO U TH ERN D ISTR ICT O F FLO RID A

                                    PENA LTY SH EET

  D efendant's Nam e: G A FU R B O BO JO NI

  C ase N o:

  Count#:l1

  M arriage Fraud

  Title8,UnitedStatesCode,Section l325/)
  *M ax.Penalty:5 Y ears'lm prisonm ent




   *R efersonly to possible term ofincarceration,doesnotinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
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                            U N ITED STA TES D ISTR IC T CO UR T
                            SO UTH ER N D ISTR IC T O F FL O R ID A

                                       PEN AL TY SH EE T

  D efendant's N am e: M AY IQEL FA N DIN O M O RE N O

  Case No:

  Count#:l

  Conspiracy to Com m itO ffenses againstthe United States

  Title 21,U nited States Code,Section 371

  *M ax.Penalty:5 Y ears'lm prisonm ent

  Count#:13

  M arriage Fraud

  Title8,United StatesCode,Sectipp l325(9)
  *M ax.Penalty:5 Y ears'Im prisonm ent

  Counts#:26

  Unlawfully Encouraging an A lien to Reside in the U nited States

  Title8,UnitedStatesCode,Section 1324(a)(1)(A)(iv),(v)(ii),and(B)(i)
  *M ax.Penalty:10 Y ears'Im prisonm ent




   WRefers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeitures that m ay be applicable.
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                            U NITED STATE S D ISTR IC T CO UR T
                            SO U TH E RN D ISTR ICT O F FLO RID A

                                        PEN A LTY SH E ET

  D efendant's N am e: LED ESM Y SU A REZ

  Case N o:

  Count#:1

  Conspiracy to Com m itOffensesagainstthe United States

  Title 21,United StatesCode,Section 371

  *M ax.Penalty:5 Y ears'lm prisonm ent

  Count#:2

  M aniage Fraud

  Title8,UnitedStatesCode,Secticm 1325(c)
  *M ax.Penalty:5 Years'Im priscmm ent

  Counts#:15

  U nlawfully Encouraging an A lien to Reside in the U nited States

  Title8,United StatesCode,Section l324(a)(1)(A)(iv),(v)(ii),and(B)(i)
  *M ax.Penalty:10 Y ears'lm plisonm ent

  Count#:28

  U nlaw fulProcurem entofCitizenship orN aturalization

  Title 18,UnitedStatesCode,Section 1425(a)
   *M ax.Penalty:10 Y ears'Im prisonm ent



    eR efersonly to possible term ofincarceration,does notinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
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                          UN ITED STA TE S D ISTR IC T C O U R T
                          SO U TH E RN DISTR IC T O F FLO RID A

                                     PENA LTY SH EET

  Defendant's N am e: V ITA LY M E SH CH ERIA K O V

  Case N o:

  Count#:2

  M arriage Fraud

  Title8,UnitedStatesCode,Section l325/)
  *M ax.Pçpplt'
              yq5 Y p p 'lp priq-
                              - qnmçn.l




   Wltefers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeitures that m ay be applicable.
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                          U N ITED STA TES DISTR IC T CO UR T
                          SO UTH ER N D ISTRIC T O F FL O R ID A

                                    PEN AL TY SH EE T

  D efendant's Nam e: SA N JAR SA DIK O V

  C ase No:

  Count#:4

  M aniage Fraud

  Title8,UnitedStatesCode,Section 1325(c)
  *M ax.Penalty:5 Years'lm prisonm ent




   *Refers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeitures that m ay be applicable.
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                           U N ITE D STA TES DISTRIC T C O U R T
                           SO U TH ER N D ISTRIC T O F FL O R ID A

                                     PEN A LTY SH EET

  D efendant'sN am e: D M ITR Y PO LY U DO V

  C ase N o:

  Count#:l4

  M arriage Fraud

  Title8,UpjjedStatesçqde,Sectitp .J325(c)
  *M ax.Penalty:5 Y ears'lm prisonm ent




    *R efersonly to possible term ofincarceration,does notinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeituresthatm ay be applicable-
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                          UN ITED STATE S D ISTR ICT C O U R T
                          SO U TH ER N D ISTR ICT O F FLO RID A

                                    PENA LTY SH EET

  D efendant'sN am e: A LEN R ASM U K H A BE TO V

  C ase N o:

  Count#:12

  M aniage Fraud

  Title8,UnitedStatesCode,Section 1325(c)
  *M ax.Penalty:5 Y ears'lm prisonm ent




   *Refersonly to possible term ofincarceration,doesnotincludepossible fines,restitution,
          specialassessm ents,parole term s,or forfeituresthat m ay be applicable.
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                           U N ITED STA TES DISTRIC T C O U R T
                           SO U TH ER N DISTR IC T O F FLO R IDA

                                     PEN A LTY SH EET

  D efendant's N am e: M K H IM DZ H O N I R AK H M O N

  C ase No:

  Count#:9

  A4ardage Fraud

  Title8,UnitedStatesCode,Sedion 1325(c)
  *M ax.Penalty:5 Y ears'Im prisonm ent




   eR efersonly to possible term ofincarceration,does not include possible fines,restitution,
           specialassessm ents,parole term s,or forfeituresthat m ay be applicable.
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                           U N ITE D STA TES DISTR IC T C O U R T
                           SO U TH ER N D ISTRIC T O F FLO R IDA

                                     PEN A LTY SH EET

  D efendant's N am e: LY UB O V PRO NIN A

  Case No:

  Count#:3

  M arriage Fraud

  Title8,United StatesCode,Section 1325(c)
  *M ax.Penalty:5 Y ears'lm prisonm ent




   *R efersonly to possible term ofincarceration,does not include possible fines,restitution,
           specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
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                           UN ITE D STA TES DISTR IC T C O U R T
                           SO U TH ER N DISTR IC T O F FLO R IDA

                                     PEN A LTY SH EET

  D efendant's N am e: G U LBA H O R Y AK UB O V A

  Case No:

  Count#:5

  M arriage Fraud

  Title8,United StatesCode,Section l325/)
  *M ax.Penalty:5 Y ears'lm prisonm ent




   eRefers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeitures that m ay be applicable.
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                          UN ITED STA TE S D ISTR ICT C O U R T
                          SO U TH ERN D ISTR ICT O F FLO R ID A

                                     PENA LTY SH EET

  Defendant'sN am e: JO N BEK ZUV AY D O V

  Case N o:                                   -




  Count#:6

  M arriage Fraud

  Title8,UnitedStatesCode,Section 1325/)
  *M ax.Penalty:5 Years'lm prisonm ent




   WRefers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeituresthat m ay be applicable.
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                           U NITED STA TES D ISTR IC T CO UR T
                           SO U TH ER N D ISTRIC T O F FLO R IDA

                                     PENA LTY SH EE T

  D efendant'sN am e: AN A TO LI R O M A N O V ICI

  Case N o:

  Count#:8

  M ardage Fraud

  Title8,United StatesCode,Section 1325(c)
  *M ax.Penalty:5 Y ears'Im prisonm ent




   WRefers only to possible term ofincarceration,does notinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
